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 1          LAW OFFICES OF
     CHRISTOPHER H. WING
 2   A PROFESSIONAL CORPORATION
          1101 E STREET
 3    SACRAMENTO, CA 95814
                     441-4888
                State Bar #063214
 4

 5   ATTORNEYS FOR:           Defendant
 6

 7

 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                  FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA
                                                       Cr. No. S-08-294 EJG
12                                     Plaintiff,

           v.                                          STIPULATION AND ORDER
13
                                                       CONTINUING STATUS HEARING
14                                                     FROM AUGUST 29, 2008 AT 10:00 AM
     ROBERT MARTINSON, ET. AL                          TO OCTOBER 10, 2008 AT 10:00 AM.
15                  Defendants,
                                                       EXCLUSION OF TIME
16

17

18
19          Plaintiff, United States of America, by its counsel, Assistant United States
20
     Attorney Russell Carlberg , and defendants ROBERT MARTINSON, by his attorney,
21
     Christopher H. Wing, SHERYL HAYDEN, by her attorney Jar Greiner, KATHLEEN
22

23   DELAPP, by her attorney William Portonova, MELISSA VILLEGAS, by her attorney
24
     Bruce Locke and RICK VILLEGAS, by his attorney Tim Warriner, hereby stipulate
25

26
     and agree that the status conference calendared for August 29, 2008 at 10:00 a.m.

27   before the Honorable Senior United States District Court Judge, Edward J. Garcia,
28
     may be continued to October 10, 2008, at 10:00 a.m., for a further Status Hearing.
     ///
                                                       1
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               1             The defendants have recently received discovery of approximately an additional
               2
                      1000 pages which must be reviewed by the defendants and their attorneys and
               3

               4      investigated by them.

               5             Based upon this new discovery, the parties stipulate and agree that time under
               6
                      the Speedy Trial Act shall continue to be excluded to October 10, 2008 at 10:00 a.m.
               7

               8      pursuant to Title 18 U.S.C. §3161(h)(8)(B)(iv), Local Code T-4 – for time for the
               9      defense counsel to prepare.
             10
                             The date has been confirmed with the Court’s courtroom deputy, Ms. Colleen
             11

             12       Lydon.
             13              Dated: August 25, 2008
             14
                                                                          Respectfully Submitted
             15

             16

             17                                              /s/ Christopher H. Wing by e-mail authorization
             18                                              ______________________________________
                                                             Christopher H. Wing
             19                                              Attorney for Robert Martinson
             20

             21
                             Dated: August 25, 2008
             22                                              McGregor W. Scott
             23                                              United States Attorney

             24

             25                                              /s/ Russell Carlberg by e-mail authorization
                                                             ____________________________________
             26                                              Russell Carlberg
             27                                              Assistant U.S. Attorney
             28
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CHRISTOPHER H. WING
SACRAMENTO, CA.       ///
                                                                  2
                            Case 2:08-cr-00294-WBS Document 44 Filed 08/26/08 Page 3 of 4


               1

               2             Dated: August 25, 2008
                                                           /s/ James R. Greiner by e-mail authorization
               3                                           ___________________________________
               4                                           James R. Greiner
                                                           Attorney for Sherly Haden
               5

               6             Dated: August 25, 2008
                                                           /s/ William Portonova by e-mail authorization
               7                                           ____________________________________
               8                                           William Portonove
                                                           Attorney for Kathleen Delapp
               9
             10              Dated: August 25, 2008
                                                           /s/ Bruce Locke by e-mail authorization
             11                                            ____________________________________
             12                                            Bruce Locke
                                                           Attorney for Melissa Villegas
             13

             14              Dated: August 25, 2008
             15                                            /s/ Tim Warriner by e-mail authorization
             16                                            _____________________________________
                                                           Tim Warriner by e-mail authorization
             17

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CHRISTOPHER H. WING
SACRAMENTO, CA.       ///
                                                                3
                            Case 2:08-cr-00294-WBS Document 44 Filed 08/26/08 Page 4 of 4


               1

               2                                            ORDER
               3             This matter having come on before me pursuant to the stipulation of the
               4      parties and good cause appearing therefore,
               5             IT IS ORDERED THAT: the Hearing now set for August 29, 2008 at 10:00
               6      a.m., is vacated and the matter set for a status conference on, October 10, 2008, at
               7      10:00 am.
               8             Further, the Court finds that the defendants' need for additional time to
               9      prepare exceeds the public interest in a trial within 70 days and, therefore, the
             10       interests of justice warrant a further exclusion of time until the hearing on October
             11       10, 2008. Based upon this finding and the representations of the parties, the Court
             12       excludes time from August 29, 2008, pursuant to the Speedy Trial Act, 18 U.S.C. §
             13       3161(h)(8)(B)(iv), Local Code T4 (time to allow sufficient time for counsel to
             14       prepare), until the next appearance on October 10, 2008 at 10:00 a.m. or by further
             15       order of this Court.
             16

             17

             18              Dated: August 25, 2008           /s/ Edward J. Garcia
                                                              SENIORU.S. DISTRICT COURT JUDGE
             19

             20

             21

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             27

             28
LAW OFFICES OF
CHRISTOPHER H. WING
SACRAMENTO, CA.       ///
                                                                    4
